                          Case 1:24-cr-00265-TNM        Document 164           Filed 05/14/25   Page 1 of 1
Government   D                     United States
Plaintiff    D                                             vs.                                   Civil/Criminal No.   24 CR 265
Defendant    [ZJ                   Burke
Joint        D
Court        D
EXHIBIT             DESCRIPTION OF EXHIBITS                MARKED            RECEIVED             WITNESS              EXHIBITS
NUMBER                                                     FOR 1.D.              IN                                    SENT INTO
                                                                             EVIDENCE                                  JURY


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                                                                                                                       (date & time)

             Email - 4-13-21 Charlie Kim to Investors                                    Agent Gardner
        A                                               i:s-12-202:

        B
             Email 12-18-20 Charlie Kim to Next Jump
                                                        5-12-2025            -           Agent Gardner


             Email 9-9-22 Charlie Kim to Burke                                           Agent Gardner
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